     Case: 1:18-cr-00024 Document #: 11 Filed: 01/31/18 Page 1 of 1 PageID #:50

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                          Case No.: 1:18−cr−00024
                                                            Honorable Jeffrey Cole
Jiongsheng "Jim" Zhao
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 31, 2018:


      MINUTE entry before the Honorable Ruben Castillo:as to Jiongsheng "Jim" Zhao:
The Court will exclude time until 4/2/2018 pursuant to 18 U.S.C. 3161(h)(7)(A). (rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
